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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG  *                     MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF *
OF MEXICO, ON APRIL 20, 2010    *                      SECTION J
                                *
This document relates to:       *
                                *                      HONORABLE CARL J. BARBIER
   No. 10-4536                  *
                                *                      MAGISTRATE JUDGE SHUSHAN
                                *

                                           ORDER

       Considering the Ex Parte Motion by BP Exploration & Production Inc. (“BPXP”) for

Leave to File Exhibit C to BPXP’s Reply in Support of its Motion in Limine to Preclude the United

States From Introducing Evidence for the Purpose of Establishing the Liability of BP Group Entities

Other Than BPXP (the “Reply Brief”):

       IT IS HEREBY ORDERED, that BPXP’s Motion is GRANTED; and it is further

ORDERED that Exhibit C attached to the Reply Brief (Rec. Doc. 13952) is filed under seal

pending further order of the Court.



New
New Orleans,
    Orleans, Louisiana
             Louisiana,this
                        this7th day
                                day of
                                    of December,
                                       January, 2015.
                                                  2014.




                                            UNITED STATES DISTRICT JUDGE
